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IN THE UNITED. STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
Case No. 09-10138 (KG)
Nortel Networks Inc., et al.,’ Jointly Administered

Debtors. Qhjection Deadline: November 18, 2010 4:00 pm

Hearing Date:

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MONTHLY APPLICATION OF ASHURST LLP, EUROPEAN COUNSEL FOR THE
OFFICIAL COMMITTEE OF UNSECURED CREDITORS, FOR INTERIM
ALLOWANCE OF COMPENSATION AND FOR
REIMBURSEMENT OF EXPENSES FOR SERVICES
RENDERED DURING THE PERIOD FROM
SEPTEMBER 01, 2010 THROUGH SEPTEMBER 30, 2010

This is a(n):__X_ monthly interim final application.

Name of Applicant: Ashurst LLP

Authorized to Provide
Professional Services to: The Official Committee of Unsecured Creditors

Date of Retention: March 5, 2009 (nunc pro tunc to January 30, 2009)

Period for which Compensation
and Reimbursement is sought: September 01, 2010 through September 30, 2010

Amount of Compensation sought as
actual, reasonable and necessary £57,207.00 (US $90,959,137

Amount of Expense Reimbursement sought
as actual, reasonable, and necessary: £179.15 (US $284.85)

' The Debtors in these chapter 11 cases, along with the last four digits of each Debtors’ tax identification number, are: Nortel
Networks Ine. (6332); Nortel Networks Capital Corporation (9620); Nortel Altsystems, Inc. (9769); Nortel Altsystems
International, Inc. (5596); Xros, Inc. (4181); Sonoma Systems (2073); Qtera Corporation (0251); Coretek, Inc. (5722); Nortel
Networks Applications Management Solutions, Inc. (2846); Nortel Networks Optical Components, Inc. (3545); Nortel Networks
HPOCS Inc. (3546); Architel Systems (U.S.) Corporation (3826); Nortel Networks International Inc. (0358}; Northern Telecom
Intemational Inc. (6286); Nortel Networks Cable Solutions Inc. (0567), and Nortel Networks (CALA) Inc. (4226).

? The amount stated in parenthesis is for informational purposes only and reflects the international foreign exchange rate of £1 to
US $1.59 as published by Bloomberg.com on the date of this application.

7 The amount stated in parenthesis is for informational purposes only and reflects the international foreign exchange rate of £1 to
US $1.59 as published by Bloomberg.com on the date of this applicction.

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SUMMARY OF ATTORNEYS AND LEGAL ASSISTANTS
RENDERING SERVICES DURING THE PERIOD

SEPTEMBER 61, 2010 THROUGH SEPTEMBER 30 2010

Name of Position of the Applicant, Number Hourly | Total | Total

Professional of Years in that Position at Current | Billing Billed | Compensation

Person or Prior Firms, Year of Obtaining —_ | Rate Hours ; Requested (£}
License to Practice, Area of
Expertise

Giles Boothman Partner for 9 years; Admitted in 19¢°; £650 2,50 1,625.60
Restructuring and Special Situations
Group, UK

Angela Pearson Partner for 4 years; Admitted in 1991, £625 39.00 | 24,375.00
Litigation Group, UK

Nadine Gelli Partner for 2 years; Admitted in 1998 Tax | £600 0.70 420,00
Group, France

Eric Bouffard Partner for 4 years; Admitted in 1996 £625 4,30 2,687.50
(France); Litigation and Restructuring
Paris -

Steven Hull Partner for 13 years; Admitted in 1989; £625 1,50 937.50
Employment, Incentives and Pensions
Group, UK

Luke Rollason Associate for 6 years; Admitted in 2004; £490 1.00 490.00
Restructuring and Special Situations
Group, UK.

Paul Bagon Associate for 2 years; Admitted in 2008; £350 36.80 | 12,880.00
Restructuring and Special Situations
Group, UK

Anna Patashnik Associate for 2 years; Admitted in 2008; | £350 0.20 70.00
Employment, Incentives and Pensions
Group, UK

Michelle Associate for 1 year; Admitted in 2010; £290 24.30 | 7,047.00

Egbosimba Litigation Group, UK

Nathalie Legendre | Professional Development Lawyer, £485 13.00 | 6,305.00
Admitted in 1994; Corporate Group,
France

Victoire Binchet Trainee Solicitor; Litigation Group, UK £185 2.00 370.00

TOTAL 125.30 | 57,207.60

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COMPENSATION BY PROJECT CATEGORY
SEPTEMBER 01, 2010 THROUGH SEPTEMBER 30, 2010

Project Category Total Hours Total Fees (£)
Ashurst Fee Application / Monthly Billing Reports 11.00 3,850.00
Creditors Committee Meetings 5.30 1,995.00
General Claims Analysis / Claims Objections 59.20 24,302.00
Lift Stay Litigation 36.70 22,415.00
Asset / Stock Transaction / Business Liquidations 5.70 1,995.00
European Proceedings/Matters 7.40 2,650.00
TOTAL 125.30 57,207.00

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DISBURSEMENT SUMMARY
SEPTEMBER 01, 2010 THROUGH SEPTEMBER 30, 2010
Document Production £27.54
Travel Expenses — Ground Transportation £151.61
TOTAL £179.15

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
Case No, 09-10138 (KG)
Nortel Networks Inc., et al.,' Jointly Administered

Debtors. Objection Deadline: November 18, 2016 4:00 pm

Hearing Date:

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MONTHLY APPLICATION OF ASHURST LLP, EUROPEAN COUNSEL FOR THE
OFFICIAL COMMITTEE OF UNSECURED CREDITORS, FOR INTERIM
ALLOWANCE OF COMPENSATION AND FOR
REIMBURSEMENT OF EXPENSES FOR SERVICES
RENDERED DURING THE PERIOD FROM
SEPTEMBER 01, 2010 THROUGH SEPTEMBER 30, 2010

Ashurst LLP (“Ashurst” or the “Applicant”), Muropean counsel to the Official Committee

of Unsecured Creditors (the “Committee”) of Nortel Networks Inc., ef al. (the “Debtors”), hereby
submits its monthly application (the “Application”) pursuant to (1) sections 330 and 331 of title

11 of the United States Code (the “Bankruptcy Code”), (ii) Rule 2016 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), Gii) Rule 2016-2 of the Local Rules of

Bankruptcy Procedure for the District of Delaware (the “Local Rules”), and (iv) the
Administrative Order Pursuant to 11 U.S.C. §§ 105(a) and 331, Fed. R. Bankr. P. 2016 and Del.
Bankr. L.R. 2016-2 Establishing Procedures for Interim Compensation and Reimbursement of
Fees and Expenses for Professionals and Official Committee Members entered on February 4,
2009 (the “Administrative Fee Order”), for interim allowance of compensation for services

rendered in the aggregate amount of £57,207.00 and for reimbursement of actual and necessary

‘The Debtors in these chapter 1] cases, along with the last four digits of each Debtors’ tax identification number, are: Nortel
Networks Inc, (6332); Nortel Networks Capital Corporation (9620); Nortel Altsystems, Inc. (9769); Nortel Altsystems
Intemational, Inc. (5596); Xros, Inc. (4181); Sonoma Systems (2073); Qtera Corporation (0251); Coretek, Inc. ($722), Nortel
Networks Applications Management Solutions, Inc. (2846), Nortel Networks Optical Components, Inc. (3545); Nortel Networks
HPOCS inc, (3546); Architel Systems (U.S.) Corporation (3826); Nortel Networks Intemational Inc. (0358); Northern Telecom
International Inc. (6286); Nortel Networks Cable Solutions Inc. (0567) and Nortel Networks (CALA) Ine. (4226).

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expenses incurred by Ashurst i connection therewith in the amount of £179.15 for the period
from September 01, 2010 and September 30, 2010. In support of this Application, Ashurst
respectfully states as follows:

I. JURISDICTION AND VENUE

1, This Court has jurisdiction over the Application pursuant to 28 U.S.C. §§ 157 and
1334. Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409. This is a core
proceeding pursuant to 28 U.S.C. § 157(b)(2). The statutory bases for the relief requested herein
are sections 1103 and 328(a) of the Bankruptcy Code and Bankruptcy Rule 2014.

i. BACKGROUND

2. On January 14, 2009 (the “Petition Date”), each of the Debtors filed a voluntary
petition for relief under chapter 11 of the Bankruptcy Code (the “U.S. Proceeding”) in the United

States Bankruptcy Court for the District of Delaware (the “Court”). The Debtors have continued

to manage and operate their businesses as debtors in possession pursuant to sections 1107 and
1108 of the Bankruptcy Code. On January 15, 2009, the Court entered an order jointly
administering these cases pursuant to Bankruptcy Rule 1015(b) for procedural purposes only.

3. On January 14, 2009, the High Court of Justice in England placed nineteen of the
Debtors’ European affiliates (collectively, the “EMEA Debtors”) into administration (the

“European Proceeding” and together with the U.S. Proceeding, the “Insolvency Proceedings”)

under the control of individuals from Ermst & Young LLC.

4. On January 22, 2009 (the “Committee Formation Date”), pursuant to section 1102

of the Bankruptcy Code, the United States Trustee for the District of Delaware (the “US
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Trustee”) appointed the Committee. The Committee currently consists of three members.’ No
trustee or examiner has been appointed in these chapter 11 cases.

5. On January 30 2009, pursuant to section 328 and 1103(a) of the Bankruptcy Code,
the Committee selected Ashurst to serve as European counsel to the Committee. On March 5,
2009, this Court entered an order authorizing the retention of Ashurst as European counsel to the

Committee, nunc pro tunc to January 30, 2009.

Ii RELIEF REQUESTED

6. By this Application, Ashurst seeks (i) interim allowance and award of
compensation for the professional services rendered by Ashurst as attorneys for the Committee
for the period from September 01, 2010 through September 30, 2010 (the “Compensation

Period”) in the amount of £57,207.00 representing 125.30 hours in professional services; and (ii)

reimbursement of actual and necessary expenses incurred by Ashurst during the Compensation
Period in connection with the rendition of such professional services and paraprofessional
services in the amount of £179.15.

7. Pursuant to the Administrative Fee Order, Ashurst is seeking payment of
£45,765.60 of fees (representing 80% of its fees) and £179.15 for reimbursement of expenses
relating to services rendered during the Compensation Period.

8. Ashurst has received no payment and no promises for payment from any source
for services rendered in connection with these chapter 1] cases, There is no agreement or
understanding between the Applicant and any other person (other than members of Ashurst) for

the sharing of compensation to be received for the services rendered in these cases.

2 The Committee is comprised of the foHowing entities: Law Debenture Trust Company of New York as indenture trustee,
Pension Benefit Guaranty Corporation: and The Bank of New York Mellon as indenture trustee.

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9, As stated in the Affirmation of Giles Boothman, Esq. (the “Boothman
Affirmation”), annexed hereto as Exhibit A, all of the services for which interim compensation is
sought herein were rendered for or on behalf of the Committee solely in connection with these
cases,

TV. SUMMARY OF SERVICES RENDERED

10. Ashurst has rendered professional services to the Committee as requested and as
necessary and appropriate in furtherance of the interests of the Debtors’ unsecured creditors
during the Compensation Period. The variety and complexity of the issues in these Insolvency
Proceedings and the need to act or respond to issues on an expedited basis in furtherance of the
Committee’s needs have required the expenditure of substantial time by Ashurst personnel from
several legal disciplines.

1h. In the ordinary course of its practice, Ashurst maintains written records of the
time expended by attorneys and paraprofessionals in the rendition of their professional services.
In accordance with the provisions of the Administrative Fee Order, a compilation showing the
name of the attorney or paraprofessional, the date on which the services were performed, a
description of the services rendered, and the amount of time spent in performing the services for
the Committee during the Compensation Period is annexed hereto as Exhibit B.

12. In the ordinary course of its practice, Ashurst also maintains records of all actual
and necessary out-of-pocket expenses incurred in connection with the rendition of its
professional services, all of which are available for inspection. A schedule of the categories of
expenses and amounts for which reimbursement is requested is annexed hereto as Exhibit C. A

detailed summary of the expenses is attached hereto as Exhibit D.
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13. Ashurst respectfully submits that the professional services that it rendered on
behalf of the Committee were necessary and appropriate, and have directly contributed to the
effective administration of these chapter 11 cases.

14, _—‘ The following summary of services rendered during the Compensation Period is
not intended to be a detailed description of the work performed, as those day-to-day services and
the time expended in performing such services are fully set forth in Exhibit B. Rather, it is
merely an attempt to highlight certain of those areas in which services were rendered to the
Committee, as well as to identify some of the problems and issues that Ashurst was required to

address.

Asharst Fee Application/Monthly Billing Reports
(Fees: £3,850.00; Hours 11.00)

15. This subject matter relates to time spent reviewing invoices and drafting monthly

fee statements as required under the Administrative Fee Order.

Creditor Committee Meetings
(Fees: £1,995.00; Hours 5.30)

16. This subject matter relates to Committee matters, meetings and conference calls
with the Committee as a whole, with individual Committee members and with the Committee’s
other legal and financial advisors. Specifically, during the Compensation Period, Ashurst,
together with the other Committee professionals held multiple conference calls with the full
Committee.

17. Prior to such meetings, Ashurst reviewed each pending matter requiring the

Committee’s attention with respect to the European Proceeding and all underlying

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documentation in connection therewith. Thereafter, Ashurst discussed each of these matters with
the Committee and assisted the Committee in formulating a position with respect to each pending
matter. Through the meetings, conference calls and correspondence described above, Ashurst
assisted the Committee in fulfilling its statutory duties to make informed decisions regarding the
various issues that have arisen in these Insolvency Proceedings, to monitor closely the Debtors’
management of these proceedings, and to reach independent conclusions on the merits of specific

matters at issue in these Insolvency Proceedings.

General Claims Analysis / Claims Objections
(Fees: £24,302.00; Hours 59.20)

18. This subject matter relates to services rendered by Ashurst in connection with
conducting analysis of mediation submissions (the "Mediation Submissions") relating to the
allocation of sale proceeds in respect of the post-Petition Date sale of certain of the Debtors’
assets. This analysis, which remains ongoing, required Ashurst to undertake a detailed review of
English and French law matters relating to the Mediation Submissions and to assist the
Committee and the Committee's professional advisers in formulating and advancing the
Committee's and the Debtors' Mediation Submission.

Lift Stay Litigation

(Fees: £22,415.00; Hours: 36.70)

19. This subject matter relates to services rendered by Ashurst in connection with
conducting an in-depth analysis of the issue by the U.K. Pensions Regulator of a warning notice
(the "Warning Notice") against certain of the Debtors and the assertion by certain of the Debtors
that the Warning Notice was in violation of the U.S. and Canadian stays. This analysis, which
remains ongoing, required detailed diligence by Ashurst of UK pensions legislation and the

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powers of the UK Pensions Regulator to assist the Committee and the Committee's professionals
advisers in supporting the Debtors and the Debtors professional advisers' efforts to oppose the

Warning Notice and to assert the enforcement of the U.S. and Canadian stays.

Asset/Stock Transaction/Business Liquidations
(Fees: £1,995.00; Hours: 5.70)

20. This subject matter relates to the time spent by Ashurst analyzing documentation

relating to the sale of certain European assets owned by the Debtors.

European Proceedings/Matters

(Fees: £2,650.00; Hours: 7.40)

21. This subject matter relates to the legal services rendered by Ashurst relating to the
European Proceeding. During the Compensation Period, Ashurst commenced an in-depth
analysis of the EMEA Debtors’ insolvency proceedings in various jurisdictions in Europe and
discussed the same with the UK administrator and its advisors and the Committee and the

Commnittees' other advisors.

y. ALLOWANCE OF COMPENSATION

22. ‘The professional services rendered by Ashurst required a high degree of
professional competence and expertise so that the numerous issues requiring evaluation and
determination by the Committee could be addressed with skill and dispatch and have, therefore,
required the expenditure of substantial time and effort. It is respectfully submitted that the

services rendered to the Committee were performed efficiently, effectively and economically,

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and the results obtained to date have benefited not only the members of the Committee, but also
the unsecured creditor body as a whole and the Debtors’ estates.

23. The allowance of interim compensation for services rendered and reimbursement
of expenses in bankruptcy cases is expressly provided for in section 331 of the Bankruptcy Code:

... any professional person . . . may apply to the court not more than once every

120 days after an order for relief in a case under this title, or more often if the

court permits, for such compensation for services rendered . . . as is provided

under section 330 of this title.
11 U.S.C. § 331. Moreover, this Court has authorized the filing of this Application in the
Administrative Fee Order.

24, With respect to the level of compensation, 1] U.S.C. § 330(a)(1)(A) provides, in
pertinent part, that the Court may award to a professional person “reasonable compensation for
actual, necessary services rendered... .” 11 U.S.C. § 330(a)(1)(A). Section 330(a)(3), in turn,
provides that:

In determining the amount of reasonable compensation to be awarded .. . the

court shall consider the nature, the extent, and the value of such services, taking

into account all relevant factors, including ~

(A) the time spent on such services;

(B) the rates charged for such services;

(C) whether the services were necessary to the administration of, or
beneficial at the time at which the service was rendered toward the
completion of, a case under this title;

(D) whether the services were performed within a reasonable amount of
time commensurate with the complexity, importance, and nature of the
problem, issue, or task addressed;

(E) with respect to a professional person, whether the person is board

certified or otherwise has demonstrated skill and experience in the
bankruptcy field; and

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(F) whether the compensation is reasonable based on the customary
compensation charged by comparably skilled practitioners in cases other
than cases under this title.

11 U.S.C. §330(a)(3). The clear Congressional intent and policy expressed in this statute is to
provide for adequate compensation in order to continue to attract qualified and competent
bankruptcy practitioners to bankruptcy cases.

25. ‘The total time spent by Ashurst attorneys and paraprofessionals during the
Compensation Period was 125.30 hours. The work involved, and thus the time expended, was
carefully assigned in light of the experience and expertise required for a particular task.

26. As shown by this application and supporting documents, Ashurst spent its time
economically and without unnecessary duplication of time. Attached hereto as Exhibit E is a
schedule of the hours expended by the attorneys and paraprofessionals during the Compensation
Period, their normal hourly rates, and the value of their services. In addition, Ashurst incurred
actual out-of-pocket expenses in connection with the rendition of the professional services to the
Committee in the sum of £179.15 for which Ashurst respectfully requests reimbursement in full.

27. The disbursements and expenses have been incurred in accordance with Ashurst’s
normal practice of charging clients for expenses clearly related to and required by particular
matters. Ashurst has endeavored to minimize these expenses to the fullest extent possible.

28. Ashurst’s billing rates do not include charges for photocopying, telephone and
facsimile charges, computerized research, travel expenses, “working meals,” secretarial
overtime, postage and certain other office services, since the needs of each client for such
services differ. Ashurst believes that it is fairest to charge each client only for the services
actually used in performing services for it. In these proceedings, Ashurst charges £0.70 per page

for internal duplicating and does not charge for facsimile transmissions.

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29. No agreement or understanding exists between Ashurst and any other person for
the sharing of any compensation to be received for professional services rendered or to be
rendered in connection with these cases.

30. No prior application has been made in this or in any other Court for the relief

requested herein for the Compensation Period.

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WHEREFORE, Ashurst respectfully requests that this Court:

(a) approve the allowance of £57,207.00, for compensation for professional

services rendered to the Committee during the period from September 01, 2010 through and

including September 30, 2010;

(b} —_ approve the reimbursement of Ashurst’s out-of-pocket expenses incurred

in connection with the rendering of such services during the period from September 01, 2010

through and including September 30, 2010 in the amount of £179.15; and

{c) authorize and direct the Debtors to immediately pay to Ashurst the amount

of £45,944.75 which is equal to the sum of 80% of Ashurst’s fees and 100% of Ashurst’s

expenses incurred during the Compensation Period.

Dated: London, United Kingdom
October 29, 2010

ASHURST LLP

By ‘
Giles Boothman
A Member of the Firm

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European counsel to the Official Committee of
Unsecured Creditors

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